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United States District Court
Northern District of Illinois                                     1:21-cv-00835
Marla Micks, individually and on behalf of
all others similarly situated,
                                Plaintiff,

                  - against -                            Notice of Voluntary Dismissal

The Hain Celestial Group, Inc.,
                                Defendant

       Plaintiff gives notice this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: March 23, 2021
                                                                 Respectfully submitted,

                                                                 Sheehan & Associates, P.C.
                                                                 /s/Spencer Sheehan
                                                                 Spencer Sheehan
                                                                 60 Cuttermill Rd Ste 409
                                                                 Great Neck NY 11021-3104
                                                                 Tel: (516) 268-7080
                                                                 Fax: (516) 234-7800
                                                                 spencer@spencersheehan.com
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1:21-cv-00835
United States District Court
NorthernDistrict of Illinois

Marla Micks, individually and on behalf of all others similarly situated,

                                             Plaintiff,


                        - against -


The Hain Celestial Group, Inc.,

                                             Defendant




                               Notice of Voluntary Dismissal


                       Sheehan & Associates, P.C.
                       60 Cutter Mill Rd Ste 409
                        Great Neck NY 11021-3104
                           Tel: (516) 268-7080
                           Fax: (516) 234-7800


Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: March 23, 2021
                                                                            /s/ Spencer Sheehan
                                                                             Spencer Sheehan
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                                      Certificate of Service

I certify that on March 23, 2021, I served or transmitted the foregoing by the method below to the
persons or entities indicated, at their last known address of record (blank where not applicable).

                                                CM/ECF         First-Class Mail     Email
 Defendant’s Counsel                               ☐                 ☐                ☐

 Plaintiff’s Counsel                               ☒                 ☐                ☐

                                                           /s/ Spencer Sheehan
                                                           Spencer Sheehan
